
39 N.Y.2d 1045 (1976)
In the Matter of William T. Brockman, Respondent,
v.
James B. Skidmore et al., Appellants.
In the Matter of William T. Brockman, Respondent,
v.
Ronald Rioux et al., Appellants.
Court of Appeals of the State of New York.
Argued June 9, 1976.
Decided July 15, 1976.
Robert C. Crimmins and Howard M. Finkelstein for appellants.
George C. Stankevich for respondent.
Concur: Chief Judge BREITEL, and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE.
In first above-entitled proceeding: Judgment reversed, without costs, and appellants' determination reinstated (see Matter of Muldoon v Mayor of Syracuse, 34 N.Y.2d 222, 236-237).
In second above-entitled proceeding: Appeal dismissed, without *1047 costs, as moot in view of the determination in first above-entitled proceeding.
